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                                   UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF MISSISSIPPI


In re:                                                                                     Case No.: 18−52201−KMS

D&L Meds, LLC                                                                                               Chapter: 7
dba Ole River Pharmacy




                                   FINAL DECREE/ORDER CLOSING CASE


    The court having found that the estate of the above named debtor(s) or debtor(s) in possession has been fully
administered in accordance with the procedures required by Rule 5009 or Rule 3022, Fed. R. Bankr. P.; it is

     ORDERED that the trustee (if any) herein is hereby discharged; that unless there is a blanket bond herein, the
trustee's surety is hereby discharged; that regardless of whether the trustee's bond herein is a case bond or a blanket
bond, the surety is relieved of any liability for the actions or inactions of the trustee that may be incurred after the
termination of its suretyship, but is not relieved of any liability for the actions or inactions of the trustee incurred
during its suretyship; and that this case be and the same is hereby closed pursuant to 11 U.S.C., Section 350.




    DATED: 3/6/19                                       /s/Katharine M. Samson
                                                        United States Bankruptcy Judge




*Include all names used by Debtor(s) within last 8 years

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